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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

___________________________________
                                    )
                                    )
UNITED STATES OF AMERICA            )
                                    )
v.                                  )                                 No. 19-10080-NMG
                                    )
DAVID SIDOO et al.,                 )
            Defendants              )
                                    )
___________________________________ )

    DEFENDANT ROBERT ZANGRILLO’S MOTION TO PERMIT SPECIFIC AND
      LIMITED INTERNATIONAL BUSINESS TRAVEL TO TULUM MEXICO

       Now comes the defendant Robert Zangrillo, by and through undersigned counsel, and

hereby respectfully moves this Honorable Court to permit him to attend business and investment-

related meetings between April 24 and April 29 of this year in Tulum, Mexico. These meetings

were scheduled prior to his first appearance in March of 2019. Mr. Zangrillo attended similar

meetings in Mexico twice in 2018.

       On March 29, 2019, Mr. Zangrillo appeared in this Court in response to a complaint

charging him with one count of conspiracy to commit mail fraud and honest services mail fraud.

The Court released Mr. Zangrillo on the $500,000 bond that had been previously set in the

Southern District of Florida and set conditions that required Mr. Zangrillo to surrender his

passport to pretrial services, which he has already done, and restricted his travel to the United

States with leave to seek international travel for business reasons at the discretion of the Court.

United States v. Zangrillo, No. 19-MJ-06087-MPK (DKT 268). On April 9, 2019 Mr. Zangrillo

along with others was the subject of a two-count Superseding Indictment in the above-captioned


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matter.

          For the past five years, Mr. Zangrillo has been employed by a private investment firm,

Dragon Global, which has focused on venture capital and real estate investments that are

frequently made through separate partnership entities. Mr. Zangrillo is currently involved in

meetings with current and potential future investors and investment partners who reside and/or

own businesses located in Mexico, and in seeking investment opportunities some of which

involve international companies including at least two in Mexico. More generally, Mr.

Zangrillo, having received financing from investors in his venture capital company, has the

obligation to do due diligence and to monitor investments on behalf of his investor partners by

personally visiting companies which have received financing from Dragon Global or a related

entity, to provide guidance to certain of these companies, and to seek new investment

opportunities some of which are with companies already doing significant business in Mexico.

The proposed planned trip to Mexico involves meetings with a large current Dragon Global

investor and negotiations to invest in two companies that are headquartered in Mexico. Mr.

Zangrillo’s personal attendance at these meetings is expected by his investors and is necessary to

the continued success of his venture capital business.

          Mr. Zangrillo does not present any flight or dangerousness risk. He has lived in the

Miami area since 2010 and currently owns a home in Miami Beach. Mr. Zangrillo is fifty-two

years old, has three daughters, has had no prior convictions and no interactions with the criminal

justice system for more than thirty years, has elderly parents both living in Connecticut, has

retained the undersigned and additional co-counsel to contest the current allegations, and is fully

aware of his obligations, if this business trip is allowed, to remain at all times accessible to


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Pretrial Services, to report to Pretrial Services on his specific whereabouts by providing an

itinerary of his flights and the specific hotel that he will be staying at while in Mexico, and to

abide by whatever other conditions are set by this Honorable Court.

        Mr. Zangrillo would request leave, if necessary, to advise the Court of the specific

identity of the current large scale investor he has scheduled meetings with and the specific

investment opportunities he is doing due diligence on in Mexico under seal.

        For the foregoing reasons, Mr. Zangrillo respectfully requests that he be permitted to

attend business meetings and the review of business opportunities in Tulum, Mexico between

April 24 and April 29, 2019. Before doing so, the Court would need to allow the temporary

return of his passport by pre-trial services; after the approved travel concludes Mr. Zangrillo will

return his passport to pre-trial services.

        WHEREFORE, the defendant respectfully requests that the instant motion be allowed.

                                 Local Rule 7.1(a)(2) Certification

        The undersigned counsel conferred with counsel for the Government and the

Government takes no position on this motion and does not oppose the defendant’s request to

submit more specific information, if needed by the Court, under seal. Pre-trial services has not

yet taken a position.




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                                                     Respectfully submitted,

                                                     Robert Zangrillo
                                                     By his Attorney,

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Dated: April 10, 2019




                                CERTIFICATE OF SERVICE

        I, Martin G. Weinberg, hereby certify that on this date, April 10, 2019, a copy of the
foregoing document has been served via Electronic Court Filing system on all registered
participants.

                                                     /s/ Martin G. Weinberg
                                                     Martin G. Weinberg

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